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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                       :
                     Plaintiff,                 :
                                                :
          v.                                    :      Civ. No. 18-2044
                                                :
ST. JOSEPH’S UNIVERSITY, et al.,                :
                 Defendants.                    :

                                          ORDER

      AND NOW, this 31st day of August, 2018, upon consideration of Plaintiff’s Motion to

Take Additional Discovery (Doc. No. 33), it is hereby ORDERED as follows:

   1. Plaintiff’s request for a full and complete copy of Defendant Roe’s text messages from

      February 23–27, 2017 is DENIED;

   2. Plaintiff’s request to depose RS and JG is DENIED;

   3. Plaintiff’s request to subpoena Defendant Roe’s medical records from February 21–27,

      2017 is DENIED;

   4. Plaintiff’s request to compel the deposition of Marianne Schimelfenig, Esq., or in the

      alternative, the redeposition of SJU employees Kirstin White, Mary-Elaine Perry, and

      William Bordak is DENIED; and

   5. Plaintiff’s request to complete Defendant Roe’s deposition is GRANTED. Plaintiff shall

      COMPLETE Defendant Roe’s deposition no later than 5:00 p.m. on September 10,

      2018. Defendant Roe’s deposition shall in total take no more than seven hours, see Fed.

      R. Civ. P. 30(d)(1).

                                                           AND IT IS SO ORDERED.

                                                           /s/ Paul S. Diamond
                                                           _________________________
                                                           Paul S. Diamond, J.
